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 6                               UNITED STATES DISTRICT COURT

 7                             SOUTHERN DISTRICT OF CALIFORNIA

 8 UNITED STATES OF AMERICA,             ) CASE NO. 05CR0527-JAH
                                         )
 9              Plaintiff,               )
                                         )
10         v.                            )    ORDER
                                         )
11    TIMOTHY VILSACK,                   )
                                         )
12              Defendant.               )
                                         )
13    __________________________________)__

14         Upon   the   motion   of   the    United   States    Attorney,     and   good    cause

15 appearing therefrom,

16         IT IS HEREBY ORDERED that the Indictment in the above-captioned

17 case be dismissed with prejudice as to defendant TIMOTHY VILSACK.

18
           DATED: May 16, 2013
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                                            ___________________________
20                                          HONORABLE JOHN A. HOUSTON
                                            UNITED STATES DISTRICT JUDGE
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